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COUNSEL FOR WEST COAST
WELDING & CONSTRUCTION, INC.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                §
                                       §     Case No. 16-33174
 RINCON ISLAND LIMITED                 §
 PARTNERSHIP,                          §     Chapter 11
                                       §
                Debtor.                §

            MOTION OF WEST COAST WELDING & CONSTRUCTION, INC.
                 FOR ORDER DIRECTING RANDEEP S. GREWAL
                 TO APPEAR FOR EXAMINATION PURSUANT TO
               FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004

TO THE HONORABLE HARLIN D. HALE,
UNITED STATES BANKRUPTCY JUDGE:

        NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
        RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
        BANKRUPTCY COURT AT THE EARLE CABELL BUILDING, UNITED
        STATES COURTHOUSE, 1100 COMMERCE STREET, ROOM 1254,
        DALLAS, TEXAS 75242-1496 BEFORE CLOSE OF BUSINESS ON
        JANUARY 15, 2018, WHICH IS AT LEAST 24 DAYS FROM THE DATE
        OF SERVICE HEREOF.

        ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
        CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
        MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
        HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD WITH
        NOTICE ONLY TO THE OBJECTING PARTY.

        IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY


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          REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
          UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
          THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

          COMES NOW, West Coast Welding & Construction, Inc. (the “Movant”), a creditor and

interested-party in the above-referenced Chapter 11 case (the “Bankruptcy Case”), and file this, its

Motion for Order Directing Randeep S. Grewal to Appear for Examination Pursuant to Federal

Rule of Bankruptcy Procedure 2004 (the “Motion”). In support hereof, the Movant respectfully

shows the Court the following:

                                       I.   JURISDICTION

          1.    The Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1334 and 157

and 11 U.S.C. § 105 and Fed. R. Bankr. P. 2004. This is a core matter pursuant to 28 U.S.C. §

157(b).

                            II.    PROCEDURAL BACKGROUND

          2.    On August 8, 2016 (the “Petition Date”), the above-captioned debtor, Rincon Island

Limited Partnership (the “Debtor”), filed its voluntary petition for relief under Chapter 11 of Title

11 of the United States Code (the “Bankruptcy Code”).

          3.    On December 7, 2016, West Coast filed a proof of claim [Claim No. 11] in the

amount of $2,324,360 for goods and services provided to the Debtor prepetition related to the

repair and maintenance of the Rincon Island Causeway.

          4.    On June 26, 2017, because of the Debtor’s failure to post a required security bond

by the June 15, 2017 deadline imposed by the Court, the Court entered its Order Directing United

States Trustee to Appoint a Chapter 11 Trustee under Bankruptcy Code § 1004 [Dkt. 252]. Among

other things, the order specified that the appointed Trustee will work with the parties to attempt to




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confirm a plan and/or sell or transfer the Debtor’s leases to a responsible buyer on conditions

acceptable to the California State Lands Commission.

           5.      Accordingly, on June 28, 2017, the Office of the United States Trustee filed its

Application of the United States Trustee to Approve Appointment of Trustee [Dkt. 253], requesting

entry of an order approving the appointment of Jason Searcy as Trustee in this Chapter 11 case.

On June 29, 2017, this Court entered its Order Approving Appointment of Chapter 11 Trustee

[Dkt. 257], which appointed Jason Searcy as the Chapter 11 Trustee in the above-captioned case.

           6.      On July 10, 2017, West Coast filed its Motion for Allowance and Payment of

Administrative Expense Claim Pursuant to 11 U.S.C. §§ 364(a) and 503(b)(1) [Dkt. 259], which

requested an administrative expense claim in the amount of $80,470.99 for post-petition repairs,

goods, and services provided to the Debtor.

           7.      On August 8, 2017, the Court entered its Agreed Order Granting Motion of West

Coast Welding & Construction, Inc. for Allowance and Payment of Administrative Expense Claim

Pursuant to 11 U.S.C. §§ 364(a) and 503(b)(1) [Dkt. 269[.

           8.      Since that time, West Coast has learned that the estate is no longer solvent and the

Trustee has moved to abandon or otherwise transfer the estate’s assets.

                                    III.   FACTUAL BACKGROUND

           9.      From 2003 to 2016, HVI Cat Canyon, Inc (“HVI”). was the General Partner and

entity in control of the Debtor.1

           10.     Randeep S. Grewal is an individual who, at all relevant times, has been a director

of, and/or maintained a controlling interest in, HVI, and therefore the Debtor.




1
    See Debtor’s SOFA [Dkt. 12, p. 13]


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       11.     Mr. Grewal also has ownership interest and/or officer status in a number of other

companies, including Greka Integrated, Inc.

       12.     The Movant seeks to take the oral deposition of, and obtain documentary discovery

from, Randeep S. Grewal, as a representative of the Debtor, allowed within the scope of Rule 2004,

including but not limited to, discovering matters relating to and/or that may affect the administration

of Debtor’s bankruptcy estate, the Debtor’s financial condition, the Debtor’s operations, prepetition

and postpetition transactions, and all other matters allowed within the scope of Rule 2004. Fed.

R. Bankr. P. 2004.

       13.     Specifically, West Coast proposes to conduct a Rule 2004 examination of Mr.

Grewal regarding, among other things the Debtor’s relationship with Greka Integrated, Inc. and

other entities affiliated with Mr. Grewal and/or the Debtor, including the existence of any

prepetition and postpetition transactions and/or transfers between them.

                                  IV.     RELIEF REQUESTED

       14.     Pursuant to Rule 2004, “on the motion of any party in interest, the court may order

the examination of any entity” relating to the acts, conduct, or property or liabilities or financial

condition of the Debtor or to any matter which may affect the administration of the Debtor’s estate.

Fed. R. Bankr. P. 2004(a)-(b). Pursuant to Rule 2004, the Court may also compel the production

of documents. Fed. R. Bankr. P. 2004(c).

       15.     Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, the Movant

requests (i) authority to take the oral examination of Randeep S. Grewal with regard to (but without

limitation) the Debtor’s financial condition, prepetition and postpetition transactions, and all other

matters within the scope of Rule 2004; and (ii) to compel the production of documents as set forth

in Exhibit A, attached hereto and incorporated by reference herein, by no later than five (5) days

prior to the examination and for use in the examination.


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           16.      Counsel for the Movant has attempted to confer with the Chapter 11 Trustee, Mr.

Searcy, prior to filing this Motion. As of the filing of this Motion, undersigned has not received

Mr. Searcy’s position on the relief requested herein.

                                           IV. BASIS FOR RELIEF

           17.      The examination of any entity, including any person, sought by the Movant is

specifically authorized by Rule 2004. The Movant seek to address topics with Mr. Grewal that are

within the scope of examination permitted by Fed. R. Bankr. P. 2004(b).

           18.      The Court may act on this Motion and enter the proposed order without a hearing

as Rule 2004 motions often are granted on an ex parte basis.2

           19.      Subject to the Court’s granting this Motion, the Movant has prepared a Notice of

Intention to Take Oral Deposition, Duces Tecum, of Randeep S. Grewal Pursuant to Rule 2004 of

the Federal Rules of Bankruptcy Procedure, in substantially the same form as set forth in Exhibit

B, attached hereto and incorporated by reference herein (the “Notice”). The Notice sets forth that

the Movant propose to conduct the examination at the offices of Curtis | Castillo PC at 10:00 a.m.

on January 22, 2018, which provides ample notice of the written examination.

           20.      A proposed order (the “Order”) granting this Motion is attached.

                                                   V. PRAYER

           WHEREFORE, PREMISES CONSIDERED, Movant respectfully requests that the Court

grant the relief requested in this Motion and enter the Order compelling the attendance of Randeep

S. Grewal at a Rule 2004 examination, and requiring Randeep S. Grewal to produce the documents

set forth in Exhibit A, at the time and place set forth herein and in the proposed order attached

hereto. Movant additionally requests such other and further relief to which she may otherwise be



2
    See 9 Collier on Bankruptcy ¶ 2004.01[2] (15th ed. Rev. 2007).


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entitled at law or in equity.

Dated: December 21, 2017                             Respectfully submitted:

                                                     /s/ Bryan C. Assink
                                                     Stephanie D. Curtis
                                                     Texas State Bar No. 05286800
                                                     Mark A. Castillo
                                                     Texas State Bar No. 24027795
                                                     Bryan C. Assink
                                                     Texas State Bar No. 24089009
                                                     CURTIS | CASTILLO PC
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                                                     Dallas, Texas 75202
                                                     Telephone: 214.752.2222
                                                     Facsimile: 214.752.0709

                                                     COUNSEL FOR CREDITOR
                                                     WEST COAST WELDING &
                                                     CONSTRUCTION, INC.

            CERTIFICATE OF CONFERENCE PURSUANT TO LBR 2004-1(a)

       The undersigned hereby certifies that, on December 21, 2017, I conferred with Jason
Searcy, the Chapter 11 Trustee, regarding the proposed time and date for the 2004 examination of
Mr. Randeep S. Grewal. Mr. Searcy does not object to the date and time. Undersigned further
attempted to confer with Mr. Grewal, but does not have available contact information to allow for
a conference. Upon information and belief, however, Mr. Grewal will receive notice of the Motion,
Notice of 2004, and Request for Documents through service on the Debtor as listed below.

                                                     /s/ Bryan C. Assink
                                                     Bryan C. Assink

                                CERTIFICATE OF SERVICE

        This is to certify that, on December 21, 2017, a true and correct copy of the foregoing
document was served via the Court’s CM/ECF system, or otherwise by first class mail, postage
prepaid, upon the Chapter 11 Trustee, Jason Searcy, the U.S. Trustee, and the Debtor at the address
listed below, and on all other parties requesting electronic service in this case.

Rincon Island Limited Partnership
PO Box 5489
Santa Maria, CA 93456
                                                     /s/ Bryan C. Assink
                                                     Bryan C. Assink




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